         Case 3:20-cv-01866-IM        Document 96     Filed 03/22/21    Page 1 of 4




                            UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION

GREAT NORTHERN RESOURCES, INC.,                     Case No. 3:20-cv-01866-IM (L)
DYNAMIC SERVICE FIRE AND
SECURITY, LLC, and WALTER VAN
LEJA, on behalf of themselves and others            ORDER APPROVING SETTLEMENT
similarly situated                                  OF PLAINTIFFS DYNAMIC
                                                    SERVICE FIRE AND SECURITY,
              Plaintiff,                            LLC, AND VAN LEJA

       vs.

KATY COBA, in her Official Capacity as
State Chief Operating Officer and Director of
the Oregon Department of Administrative
Services; OREGON DEPARTMENT OF
ADMINISTRATIVE SERVICES; THE
CONTINGENT; BLACK UNITED FUND
OF OREON; DOES 1-10,

              Defendants.


       Having reviewed the Parties’ Notice of Settlement as to Plaintiffs Dynamic Service Fire

and Security, LLC and Walter Van Leja (Dkt No. 89), and good cause appearing therefor, the

Court hereby APPROVES the proposed settlement previously filed with the Court as Dkt. No. 89-

1 (the “Dynamic and Van Leja Settlement”), which settles those individual claims brought by

plaintiffs Dynamic Service Fire and Security, LLC (“Dynamic”) and Walter Van Leja (the

ORDER APPROVING DYNAMIC AND
VAN LEJA SETTLEMENT
             Case 3:20-cv-01866-IM      Document 96       Filed 03/22/21      Page 2 of 4




“Settling Plaintiffs”), against Defendants State of Oregon, Department of Administrative Services,

and Katy Coba, in her Official Capacity as State Chief Operating Officer and Director of the

Oregon Department of Administrative Services (the “State Defendants”), The Contingent and

Black United Fund, Inc. (the “Settling Defendants”). In approving the Settlement, the Court finds

as follows:

        1.       On December 6, 2020, Dynamic and Van Leja brought this lawsuit on behalf of

themselves and a putative class defined as “all current and future individuals, families, and

businesses who: (1) live or are based in Oregon; (2) have experienced or are experiencing hardship

due to COVID-19; and (3) do not self-identify as [B]lack, and who therefore have been or are

currently being disqualified from the relief from the [Oregon Cares] Fund [for Black Relief and

Resiliency] on account of race.” (Dkt. 32 at 68.)

        2.       On December 29, 2020, Defendants filed briefs addressing whether non-applicants

to the Fund (such as Dynamic and Van Leja) have standing to bring any claim for relief against

Defendants—that is, whether those individuals, businesses, and nonprofits, who did not apply

before the Fund closed, possess any claim for relief. (Dkt. 65.) The Court deferred ruling on that

issue, and the question of non-applicants’ standing has not been resolved. Prior to final approval

of the Dynamic and Van Leja Settlement, Dynamic and Van Leja’s claims remain in jeopardy on

that basis.

        3.       In light of the State Defendants’ argument against Dynamic’s and Van Leja’s

standing, among other considerations, the Settling Plaintiffs’ individual claims have not been

certified as a class, nor has either party proposed certifying a class for purposes of settlement that

would include such claims. Therefore, the Court finds the Dynamic and Van Leja Settlement does

not present the possibility of injury to absent similar claimants by binding them to a settlement.


Page 1 – ORDER APPROVING DYNAMIC
AND VAN LEJA SETTLEMENT
             Case 3:20-cv-01866-IM      Document 96      Filed 03/22/21     Page 3 of 4




The Court also finds that the Dynamic and Van Leja Settlement does not bind any absent parties,

including any nonparticipating members of the potential and uncertified class, consisting of

individuals, businesses, and nonprofits who did not apply before the Fund closed. Accordingly,

Rule 23(e) of the Federal Rules of Civil Procedure does not require judicial approval of the

Dynamic and Van Leja Settlement. See Fed. R. Civ. P. 23(e) (“The claims, issues, or defenses of

a certified class—or a class proposed to be certified for purposes of settlement—may be settled,

voluntarily dismissed, or compromised only with the court’s approval”).

        4.       However, out of an abundance of caution, and to the extent this Court is required

to follow the rule set forth in Diaz v. Trust Territory of the Pacific Islands, 876 F.2d 1401, 1408

(9th Cir. 1989), the Court finds the Dynamic and Van Leja Settlement does not pose any possible

prejudice. In Diaz, the Ninth Circuit advised courts to focus on the potential for prejudice in pre-

certification settlements of putative class actions from: “(1) class members’ possible reliance on

the filing of the action if they are likely to know of it either because of publicity or other

circumstances, (2) lack of adequate time for class members to file other actions, because of a

rapidly approaching statute of limitations, [or] (3) any settlement or concession of class interests

made by the class representative or counsel in order to further their own interests.” 876 F.2d at

1408.

        5.       As to (1), the Court finds that nonapplicant class members could not have

meaningfully relied on the filing in refraining from filing any viable action. Dynamic and Mr. Van

Leja filed their claim on December 6, 2020, only two days before the Fund closed on December

8, 2020, so no one stood by waiting for them to prosecute the valid claims of non-applicants, only

to be thwarted by the settlement. See id. Put another way, Settling Defendants contend that by

December 8, it was impossible to apply, so no one had time to rely on the Dynamic/Van Leja filing


Page 2 – ORDER APPROVING DYNAMIC
AND VAN LEJA SETTLEMENT
            Case 3:20-cv-01866-IM       Document 96       Filed 03/22/21     Page 4 of 4




and meaningfully forbear from suit.

       6.       As to (2), the operative limitations period is either the date the Fund closed, which

already passed and is unaffected by this settlement, or is some other statute of limitations as to

claims that has not yet elapsed, so that consideration similarly does not warrant withholding

approval of the Dynamic and Van Leja Settlement.

       7.       Finally, as to (3), no class interest is conceded because – again – no claim beyond

those of Dynamic and Van Leja are compromised by the Dynamic and Van Leja Settlement.

       8.       Therefore, the court approves the Dynamic and Van Leja Settlement and will

disburse $5,300,000.00 from the funds deposited with the Court in Case Number 3:20-cv-01866-

IM. The court will order the Clerk to disburse those funds through a separately filed order

approved by the Clerk’s Office Financial Administrator.


       IT IS SO ORDERED.

       DATED: ____________________



                                                      Hon. Karin J. Immergut
                                                      U.S. District Judge




Page 3 – ORDER APPROVING DYNAMIC
AND VAN LEJA SETTLEMENT
